                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

In re: Edward A. Davis                       )         Case No. 17-17251
       Christine M. Davis                    )         Chapter 13 Proceedings
       Debtors.                              )         Judge Jessica E. Price Smith

                 CHAPTER 13 TRUSTEE’S OBJECTION TO DEBTORS’
                       THIRD MOTION TO MODIFY PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing
Chapter 13 Trustee (“Trustee”) herein, by and through counsel, and hereby objects to the
Debtors’ Third Motion to Modify Plan filed with this Court on May 3, 2018 (hereinafter
“Debtors’ Motion”).       In support of her objection, the Trustee makes the following
representations to the Court:

        1.      The Trustee’s Objection to Confirmation filed with the Court on January 25, 2018
has not been resolved. Specifically, the following paragraph is not resolved: 1) Disposable
Income. The Debtors amended Form 22C-2, however Line 16 does not account for the over
withholding of taxes and Line 23 includes an expense that is already part of the standard
deductions. The Debtors also do not account for Mr. Davis’ bonus income. The Debtors’ need
to offer to general unsecured creditors 100% to comply with Section 1325(b).

       2.     The Trustee does not believe the Debtor’s Motion complies with Baud v. Carroll,
634 F.3d 327, (C.A. 6 (Mich.) 2011) as the Debtor’s plan will complete less than the applicable
commitment period of 60 months.

       3.     The Trustee requests disclosure as to how the bonus Mr. Davis received on
February 2018 were spent.

        4.       The Trustee requests disclosure as to the income of the Debtors’ adult son and his
girlfriend that live in the household.

      WHEREFORE your Trustee, being a proper party in interest, hereby moves this
Honorable Court to deny the Debtors’ Motion for the reasons cited.

                                             Respectfully submitted,

                                                 /S/ Holly Davala
                                                 HOLLY DAVALA (#0070447)
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                                CERTIFICATE OF SERVICE

I certify that on May 8, 2018, a true and correct copy of Trustee’s Objection was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

         William J. Balena, Attorney, on behalf of Debtors, at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

         Edward A. Davis, Debtor and Christine M. Davis, Debtor at 895 Jamestown Avenue,
               Elyria, OH 44035


                                              /S/ Holly Davala
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HD/alh
5/8/18




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